Case 6:25-cv-00189-AM   Document 1-3   Filed 05/07/25   Page 1 of 37




            EXHIBIT 2
         Case 6:25-cv-00189-AM                         Document 1-3                     Filed 05/07/25                    Page 2 of 37
                                                                       I 1111111111111111 11111 1111111111 1111111111 11111 11111 111111111111111 IIII IIII
                                                                                                     US008411108B2


c12)   United States Patent                                                     (IO) Patent No.:     US 8,411,108 B2
       Gilbert et al.                                                           (45) Date of Patent:     *Apr. 2, 2013

(54)    ROTATIONAL DISPLAY SYSTEM                                                5,290,094 A            3/1994     Gragg
                                                                                 6,037,876 A            3/2000     Crouch
(75)    Inventors: Mark D. Gilbert, Birmingham, AL                               6,072,386 A            6/2000     Yu
                                                                                 6,492,963 Bl          12/2002     Hoch
                   (US); Paul Chen, Venice, CA (US);                             6,575,585 B2           6/2003     Nelson
                   Lawrence Moens, Palm Beach, FL (US)                           6,663,187 B2          12/2003     Fitzgerald
                                                                                 6,856,303 B2           2/2005     Kowalewski
(73)    Assignee: Lightning Wheels, LLC, Palm Beach,                             7,046,131 B2           5/2006     Todorox
                  FL (US)                                                        7,079,042 B2           7/2006     Reim
                                                                                 7,099,701 B2           8/2006     Lo
                                                                                 7,161,256 B2           1/2007     Fang
( *)    Notice:      Subject to any disclaimer, the term ofthis                  7,271,813 B2           9/2007     Gilbert
                     patent is extended or adjusted under 35                     7,417,555 B2           8/2008     Chivarov
                     U.S.C. 154(b) by 708 days.                                  7,477,208 B2           1/2009     Matlock
                                                                             2002/0133282 Al            9/2002     Ryan et al.
                     This patent is subject to a terminal dis-               2004/0102223 Al            5/2004     Lo
                     claimer.                                                2004/0105256 Al            6/2004     Jones

(21)    Appl. No.: 12/646,422
                                                                                                  OTHER PUBLICATIONS
(22)    Filed:       Dec. 23, 2009                                          BIGWHEELS.net-DUB Pimpstar (online) [retrieved on Feb. 22,
                                                                            2007] http://www.bigwheelss.net/promotion/pimpstar.htrnl.
(65)                    Prior Publication Data
        US 2010/0097 448 Al            Apr. 22, 2010
                                                                            Primary Examiner - Joseph Haley
                  Related U.S. Application Data                            Assistant Examiner - Emily Frank
(63)    Continuation-in-part of application No. 11/840,335,                 (74) Attorney, Agent, or Firm - McHale and Slavin, P.A.
        filed on Aug. 17, 2007, now Pat. No. 8,284,214, which
        is a continuation of application No. 11/187,625, filed
        on Jul. 21, 2005, now Pat. No. 7,271,813.                           (57)                          ABSTRACT

(60)    Provisional application No. 60/589,651, filed on Jul.               The present invention provides a system which integrates
        21, 2004.                                                           unique lighting technologies, switching systems, mounting
                                                                            systems, information delivery systems and power supply sys-
(51)    Int. Cl.                                                            tems within a support such as vehicular wheel to provide an
        G09G 5100                      (2006.01)
                                                                            advanced, high quality visual display apparatus in various
(52)    U.S. Cl. ......................... 345/619; 345/649; 345/652        surfaces of rotation. A displayed image may be three dimen-
(58)    Field of Classification Search ........................ None        sional. These technologies, and their many unique applica-
        See application file for complete search history.                   tions, provide for a novel and useful series of video display
                                                                            devices that are small, lightweight, efficient and can have the
(56)                    References Cited
                                                                            capability of producing a clear, bright, high definition image
                  U.S. PATENT DOCUMENTS                                     that is equivalent to that of a modem day TV or high quality
                                                                            computer monitor.
       4,115,942 A       9/ 1978   Sears
       4,338,547 A       7/ 1982   Mccaslin
       4,631,848 A      12/1986    Iwasa et al.
       5,057,827 A      10/1991    Nobile et al.                                              21 Claims, 22 Drawing Sheets


                                                                                                          12
   Case 6:25-cv-00189-AM   Document 1-3       Filed 05/07/25    Page 3 of 37


U.S. Patent       Apr. 2, 2013       Sheet 1 of 22             US 8,411,108 B2




                                                                12




                                 FIGURE 1
    Case 6:25-cv-00189-AM   Document 1-3     Filed 05/07/25     Page 4 of 37


                                                              US 8,411,108 B2
U.S. Patent       Apr. 2, 2013     Sheet 2 of 22




                                                                     12
       10



         '\


                                 FIGURE 2
   Case 6:25-cv-00189-AM    Document 1-3       Filed 05/07/25    Page 5 of 37


U.S. Patent        Apr. 2, 2013       Sheet 3 of 22             US 8,411,108 B2




              18




           22




                                  FIGURE 3
   Case 6:25-cv-00189-AM   Document 1-3       Filed 05/07/25    Page 6 of 37


U.S. Patent       Apr. 2, 2013       Sheet 4 of 22             US 8,411,108 B2




                                 FIGURE 4
   Case 6:25-cv-00189-AM            Document 1-3    Filed 05/07/25    Page 7 of 37


U.S. Patent             Apr. 2, 2013       Sheet 5 of 22             US 8,411,108 B2




                                          12




                                          i                     22




       14
                          ((t l))

            COMPUTER




                                           34




               +
            BATTERY


                   32




                                        FIGURE 5
   Case 6:25-cv-00189-AM    Document 1-3          Filed 05/07/25   Page 8 of 37


U.S. Patent        Apr. 2, 2013      Sheet 6 of 22                 US 8,411,108 B2




                                     12




                                     i
                                             18                        22




       14




       COMPUTER




                            34




        BATTERY


              32




                                  FIGURE 6
       Case 6:25-cv-00189-AM     Document 1-3       Filed 05/07/25   Page 9 of 37

                                                                US 8,411,108 B2
                                    Sheet 7 of 22
                  Apr. 2, 2013
U.S. Patent




                                                           38




                                      FIGURE 7
   Case 6:25-cv-00189-AM                        Document 1-3         Filed 05/07/25        Page 10 of 37


U.S. Patent                    Apr. 2, 2013                Sheet 8 of 22               US 8,411,108 B2




                                                                             38

                                          ,.   - - - - - - - - - -- - - ·-
                                   ,, ,                      /
                                                                 ~
                                                                                      36
                               /

                           I
                       I




              I
              I
               \
                   \
                                                                                  26




                                          40

                                                       FIGURE 8
   Case 6:25-cv-00189-AM                         Document 1-3    Filed 05/07/25                   Page 11 of 37


U.S. Patent                   Apr. 2, 2013               Sheet 9 of 22                            US 8,411,108 B2




                                           ,,   ------------..... _-                              26

                           ,. ,
                       I                                                      \
                                                                                  \
                                                                                      \
              I                                                                           \
                                                                                          \
                                                                                              \




                                                                                                       38


              '\
                   \




                   40
                                  ......
                                           -- -
                                                                         36



                                                    FIGURE 9
   Case 6:25-cv-00189-AM    Document 1-3      Filed 05/07/25   Page 12 of 37


U.S. Patent        Apr. 2, 2013       Sheet 10 of 22           US 8,411,108 B2




                                                                       26
      28                      - - - ---



                                  - - - -.




                              FIGURE 10
   Case 6:25-cv-00189-AM   Document 1-3   Filed 05/07/25    Page 13 of 37


U.S. Patent       Apr. 2, 2013    Sheet 11 of 22           US 8,411,108 B2




                                                                     T"
                                                                     T"
                                                                     UI
                                                                     £C
                                                                     :,
                                                                     (!)
                                                                     u:
   Case 6:25-cv-00189-AM     Document 1-3     Filed 05/07/25       Page 14 of 37


U.S. Patent        Apr. 2, 2013      Sheet 12 of 22                US 8,411,108 B2




                                   165



                                                             ~110


                 165                                  162A




                                                             114


                                                 COMP.
           120

                       +
                                    FIG. 12
                       133
   Case 6:25-cv-00189-AM       Document 1-3       Filed 05/07/25        Page 15 of 37


U.S. Patent        Apr. 2, 2013          Sheet 13 of 22                US 8,411,108 B2




                                  111

            110 ~



                 164




                       140                                      141

                                                                      142


                                        FIG. 13
                                        164
                         112      0




                        121




                                  0
                                                162A
                                  0

                                  0

                                  0

                                  0
                                          163

                                                  140     141

           142
                                                                142

                                FIG. 14
   Case 6:25-cv-00189-AM         Document 1-3                 Filed 05/07/25      Page 16 of 37


U.S. Patent          Apr. 2, 2013                    Sheet 14 of 22               US 8,411,108 B2




                           112                                             111


                                                      0

                                                      0


                                             I
                                         I




                                                 '    0
                                                                                  162A
                                                      0

                                                      0
                                                                                        140
                                                      0

                                                                                  141
                           165                              165
                                  164B
                                             FIG. 15


                                                     z

                                                            167
                                                                  111


                                                     ~----+----t-t-t---t---   y
                                                                          162B
                                                                   164B
                     X



              14 l                                           FIG. 16
   Case 6:25-cv-00189-AM         Document 1-3           Filed 05/07/25     Page 17 of 37


U.S. Patent            Apr. 2, 2013          Sheet 15 of 22                US 8,411,108 B2




                               A~f/l 110       VIDEO DATA       /171
                               (RAW}
                                                  PROVIDED IN 3-D?
                                                  YES           NO

                                     177                    SOFTWARE
                                                        CONVERT TO
       I, OPTIONAL EXTERNAL MEMORY,___
       ~------'----,

                                                     ___ __,3-D    /          150
                              RAM
                                                          124
          RPSl ((]11,---1_30_A_ _                                              134
          DATA V                             COMPUTER
                               132
          RPS2
          DATA V
                 w 130B1---------i         1122   I L!~l 5J
                           r------1....------r-.---,-J

       OPTIONAL USER
         INTERFACES
                                               112                       PROCESSED
                                                                       TIME COMPENS-
                                                                         ATED AUDIO
                                                                            DATA

                         117
                                            ~--'---,. _J._____1_75~
                                             MOTORl    MOTOR2
                                                                ~          ---161
                                             162A               1628

                                           FIG. 17
   Case 6:25-cv-00189-AM         Document 1-3                 Filed 05/07/25   Page 18 of 37


U.S. Patent        Apr. 2, 2013                    Sheet 16 of 22              US 8,411,108 B2




                                                                 167
                                  119                                  181
                                                                ,' -.,.-------110




                                         O,o   0




                           180
                                        ffi            :,;;




                                          FIG. 18


                                   183
                                    ~
                                    ~~~f{ \\AlLOWftJY
                           119                                         167

                     182
                                         Q (J
                                     ~
                                     =




                                          FIG. 19
   Case 6:25-cv-00189-AM              Document 1-3            Filed 05/07/25   Page 19 of 37


U.S. Patent                Apr. 2, 2013         Sheet 17 of 22                 US 8,411,108 B2




                                      188




                  189

      119 _______...-


                                                       162B
                    ROCK




                               <J<J         O   f>{>

                              134

                                                FIG. 20
   Case 6:25-cv-00189-AM                                  Document 1-3                                       Filed 05/07/25                      Page 20 of 37


U.S. Patent              Apr. 2, 2013                                                   Sheet 18 of 22                                           US 8,411,108 B2




                                             ,,-::::~---~:,
                                         ,, ,,                             " '\
                                    '/
                                        //                           tt      \\
                                /
                              1 /
                                    /                                           '   \
                                                                                  l I
                         /"/                                                      11

           249          1 I                                                       I I

                   ,,
                    I
                                                                             ,,
                                                                              /I

                  11                                                       JI

                  ,,
                  I I                                                     //

                  ,,
                                                                 //

          240                                                   /;

                         ' .....' :: - - - : ,,...... ,,,.,,,. ,,.




                                                                          FIG. 21


                                                                                                    243
                                                                                                                               234

                                                                                                    /_:-;:--~'--
                                                                                                !;'                     I .'--" --...._Al
           240                                                                              I                                   '-~~"--           249
                                                                                           I
                                                                                           \
       211-
                                                                                                \
                                                                                                        ,,
            249                                                                            ".   '}( '--"     '-'.'-}/
                                                                                                                                            '/
                                                                                                                                          I '
                                                                                                              ~                      //
                                                                                                    I            I      ~~~::-,,,




                                                                           FIG. 22
   Case 6:25-cv-00189-AM                Document 1-3                  Filed 05/07/25     Page 21 of 37


U.S. Patent                  Apr. 2, 2013          Sheet 19 of 22                       US 8,411,108 B2




      211 ----
                      219A




                       241                   FIG. 23


                                              __.. -__,. ,_2::--_43   ~ 240
                234                                                                    234
                                                                         CARO
                                                                         2SOE

                                                                            I
         252                                                               219                     252
                                   219
   211--.....                                                                                256

                                 250E
            255

                                             FIG. 24
  Case 6:25-cv-00189-AM                                    Document 1-3                                               Filed 05/07/25    Page 22 of 37


U.S. Patent                       Apr. 2, 2013                                                         Sheet 20 of 22                   US 8,411,108 B2




                                                                                                                                                                                   J               I

                                                                                                                                                                               '               J
                                                                                                                                        -212                               I
                                                                                                                                                                               I
                                                                                                                                                                                           I
                                                                                                                                                                                               I

                                                                                                                                                                       I                   J
                                                                                                                                                                   l                   I

                                                                                                                                                           I           I
                                                                                                                                                       I           I
                                                                                                                                                   I           I

                                                                                                                                               /       '

                                                                                                                                         256

                              234 -




                              250A
                                                                                                                                       219A

          0 0 0 0 0 0                                   0 0       0 0                      0 0                                                         0                   0
                                                                                      . , ,,, r_:
         221                                                                       .,.. f"'
                                                                  ,,, -'r __ ,., ;::__,,.
                                                                                                  ,,,""


                                                            ,,,        '    _,                \
                                                                                                                                              221
                                                    /    ~ ',; _                                  '-250D
                              ~   ".._ ,,,r.; ,.,
               ..,. ;f_',,.
                  ' ,
                                                                                                                           244
                                  250[                  2198                                                         230
                                                                                                       221           217 ~              252

                                    221                                                                      /


                                                                                                                 '
                                                          221~,                         , ~_:_ ';-',,
                                                                  \,    .... .,(
                                                                       ,,
                                                                                       '   ✓
                                                                                                  ,"




                                                    -,✓,;:-//> / '-250F FIG. 26
   Case 6:25-cv-00189-AM    Document 1-3     Filed 05/07/25   Page 23 of 37


U.S. Patent        Apr. 2, 2013      Sheet 21 of 22           US 8,411,108 B2




                                    261




        211 ~




                                  FIG. 27




                   234
         241
                                                               234




                                  FIG. 28
   Case 6:25-cv-00189-AM                             Document 1-3         Filed 05/07/25      Page 24 of 37


U.S. Patent                              Apr. 2, 2013        Sheet 22 of 22                   US 8,411,108 B2




                                               212               ~211
            249                                                     249
                            /
                                                                                              234
                       ,/       ," .I'

                      ,' / ,/
                      /l/
                  I




              264                                                   267
                                                      FIG. 29


                                                                               273




                                         211                                         --271


                                                                                        272


                                275\
                                               '--




                                                                FIG. 30
       Case 6:25-cv-00189-AM                      Document 1-3               Filed 05/07/25             Page 25 of 37


                                                     US 8,411,108 B2
                              1                                                                    2
           ROTATIONAL DISPLAY SYSTEM                                circle. The disk revolved in front of a light sensitive plate on
                                                                    which a lens formed an image. Each hole passed across, or
            CROSS REFERENCE TO RELATED                              "scanned" a ring shaped portion of the image. The holes
                        APPLICATIONS                                traced contiguous concentric circles so that in one revolution
                                                                  5 of the disk, the entire image was scanned, converting a visible
   This application is a continuation-in-part of U.S. patent        image to a series of electrical signals. A similar rotating disk
application Ser. No. 11/840,335, filedAug. 17, 2007 now U.S.        system was used to reproduce the image that had been
Pat. No. 8,284,214, entitled, "Rotational Display System",          scanned. By rapidly switching a series oflights aligned with
which is a continuation application of U.S. patent application      the holes in the rotating disk, synchronized illumination
Ser. No. 11/187,625, filed Jul. 21, 2005, entitled, "Rotational 10 passed through holes tracing an image with many concentric
Display System", which claims priority under 35 USC 119(e)          circles oflight.
to the U.S. Provisional Patent Application, 60/589,651, filed          Similar systems that followed Nipkow's original designs
Jul. 21, 2004, entitled, "Rotational Image Display Systems          include developments by J. L. Baird in England and F. Jenkins
With Related Applications And Methods," which is now U.S.           in the United States, both of whom successfully demonstrated
Pat. No. 7,271,813, the entire disclosures of which are incor- 15 television systems using scanning disks in 1926. Such sys-
porated herein by reference.                                        tems produced 60 to 100 scanned lines to provide recogniz-
                                                                    able black and white images that were high quality by 1926
                 FIELD OF THE INVENTION                             standards.
                                                                       Research and development of video display systems that
   This invention relates generally to lighting systems includ- 20 employed rotating mechanical scanning came to a stop after
ing automotive lighting systems. More specifically, the             the nearly simultaneous invention of electronic scanning sys-
present invention relates to the display of visual images and/      tems by Philo T. Farnsworth in 1927 and by Vladimir K.
or display of visual information such as pictures, text and full    Zworykin in 1928. Both the Farnsworth and the Zworykin
motion video sequences on the rotating wheels of a vehicle          systems of the mid and late 1920's scanned an electron beam
and other display devices.                                       25 back and forth across the inside of a glass cathode ray tube,
                                                                    striking a phosphorescent surface plane, causing images to
           BACKGROUND OF THE INVENTION                              appear on a glass picture tube. The electronic scanning pic-
                                                                    ture tube designs developed by both inventors became the
   Numerous systems for producing visual images and dis-            foundations for the cathode ray tube that was further per-
playing visual information such as pictures, text and full 30 fected and marketed in the first home television receivers.
motion video sequences were developed over a century ago.           Significant picture tube improvements were developed by
One such technology developed utilizes rotating assemblies          Allen B. DuMont who increased the reliability, quality and
having intermittently illuminated elements to produce text or       display size of picture tubes during the 1930's. The same
basic shapes. The rotation, combined with rapidly changing          electron scanning technology has evolved into the high qual-
illuminated segments produces a series of flashing frames 35 ity glass picture tubes that are still found in present day color
that blend to form a recognizable image, or series of images.       (picture tube type) televisions and computer monitors.
This effect is broadly known as persistence of vision and is           The aforementioned inception of electronic picture tubes
more specifically referred to as "scanning". In modern              during the late 1920's effectively signaled the end of
devices that utilize persistence of vision technology, elec-        mechanical rotating image display systems by the 1930's.
tronic information about an image to be displayed is used to 40 Early picture tubes were essentially sealed, low maintenance
synchronize the illumination of individual illuminating ele-        systems with no mechanical components. Such improve-
ments at specific positions during the rotation.                    ments rendered rotary image display systems obsolete. The
   There are generally two types of persistence of vision           illumination systems, propulsion means, synchronization cir-
displays currently known in the art; cylindrical and planar. A      cuits and power requirements of rotary mechanical visual
cylindrical display rotates an LED display in a manner that 45 display systems made them heavy, bulky, inefficient, unreli-
creates images in a cylindrical manner, as if the images were       able and of marginal value due to low video quality when
on the side of a soda can. A planar display rotates the LEDs so     compared to cathode ray tube visual displays. Thus, cathode
that they appear in a flat disk shaped area. Within the planar      ray tubes became the industry standard by the 1930's. Con-
display, small bright illuminating elements are typically           sequently, rotational scanning technology as a means of
arranged along an elongated flat member. An axle is posi- 50 image display had largely been forgotten until very recently
tioned at about the mid-point of the flat member, similar to an     with the implementation of a few new products, and with the
airplane propeller, and a motor is provided to rotate the mem-      new technology disclosed herein. Several recent products
ber at a relatively high speed. As the flat member rotates, the     employ new uses and variations thereof based on illuminated
blur perceived by the eye makes the rotating member appear          rotational scanning display systems. Likewise, these newer
to be a flat circle. This virtual circle formed by the spinning 55 developments define a group of prior art that are related to the
member forms a visual image when color, brightness and              new and useful invention described herein.
timing of the illuminating sections on the member are prop-            One such prior art development is presented in U.S. Pub-
erly synchronized.                                                  lication No. 2004/0102223 to Lo. Lo describes a rotating
   One of the earliest examples of image producing systems          LED device that receives data by infrared transmission and
that utilized a rotating member, a series of illuminating 60 then displays such data by synchronizing the illumination
devices and a system of synchronizing to display an image           display of a row of rotating LEDs. The device is specifically
was developed and patented by Paul Gottlieb Nipkow from             embodied as both a functional and ornamental device that is
Germany. Nipkows' system of receiving and reproducing               used to display incoming telephone caller numbers as a caller
images utilized a selenium photocell and a (rotating) scan-         ID apparatus, and further displays other alpha-numeric infor-
ning disk. In order to capture an image, his early (1884) 65 mation such as the time, date and a few pre-programmed
system employed a scanning disk with a single row of holes          seasonal greetings that are stored in the unit's internal
arranged so they spiraled inward toward the center of the           memory. Since the rotating member containing the LED array
       Case 6:25-cv-00189-AM                      Document 1-3              Filed 05/07/25             Page 26 of 37


                                                     US 8,411,108 B2
                              3                                                                   4
must synchronize the display of information as rapidly as it          U.S. Publication No. 2004/0105256 to Jones discloses vir-
rotates, Lo describes a system that transmits infrared signals     tual color generating windmills, decorative spinners, and
to a rotating illuminating member, from an infrared transmit-      ornamental devices powered by solar or wind energy.
ter located in the stationary base unit. This effectively sepa-    Although very similar in ornamental value to the above men-
rates the actual rotating member and LED array from its 5 tioned illuminating toy by Chernick, the windmills disclosed
support circuits that need not rotate in order to produce a        by Jones utilize wind or solar energy to power integrated
visual image. The infrared system described provides a wire-       illumination systems that add to the visual interest of the
less path by which information to be displayed is beamed           windmill or similar outdoor ornament. In operation, as the
directly to a small infrared receiver that is part of the rotating windmill turns, sets of small LEDs scan rotational patterns of
display system. This design minimizes the amount of parts 10
                                                                   light creating an ornamental effect. While this system
that must rotate, thus minimizing rotational mass, minimizing
                                                                   employs rotational scanning, images displayed contain little
the weight of moving parts. However, because the device
                                                                   or no parameters for user selectability, and are incapable of
derives both a positional reference point and data concur-
rently as a predetermined point on the rotating arm passes the     displaying life like color images or color full motion video.
infrared sender, the amount of data that can be transferred is 15     Another device which employs rotational image display is
very limited.                                                      the  I-Top, a small, portable device for gaming and amuse-
   Thus, La's device is limited to displaying alpha-numeric        ment. The I-Top by Irwin Toys (I-Toys) is a pocket sized,
data, caller ID information, clock settings and a series of        battery operated spinning top with an integrated array of 8
pre-determined greetings through a telephone interface. La's       LEDs. Using a button switch on the I-top, a user can select
design does not disclose hardware, systems, methods or other 20 from a series of pre-programmed games that are integral to
provisions capable of providing motion picture sequences           the unit's controller. Once the user selects a game, then spins
that are user selected, or supplied through an external source     the I-Top, the toy displays scores, messages and animations
such as a digital media system, DVD, hard drive or other data      through its array of LEDs that form a virtual screen while
storage device. Moreover, like the other existing prior art, the   spinning. A stable display image is accomplished by using a
system is monochromatic, and thus has support circuitry that 25 built in magnetic compass that always knows the instanta-
limits data and image display throughput to the monochro-          neous position of the top, and synchronizes the illumination
matic color output of the included display devices. Even if the    display output flashes for each LED accordingly based on
LED array disclosed on the device were made multi colored          rotational position.
for ornamental purposes, the internal processing system is            Due to the compass based position sensor disposed inside
only designed to synchronize the on/off LED array switching 30 the I-Top, the beginning point of any chain of words on the
to display alpha numeric data and a few low resolution sym-        I-Top is always pointing to Earth's magnetic North. Hence,
bols. Thus, its hardware and software cannot support stream-       magnetic north is used as a reference for the LED synchro-
ing color video to display life like color images or color full    nization, and to calibrate in which direction or position the
motion video since the system is not wired and programmed          output text should appear.
to support true color synchronized switching or related data 35       While compass based positional synchronization works
throughput.                                                        very well for devices which rotate in a horizontal plane, a
   Another spinning illuminated novelty device with syn-           traditional compass based system will not provide adequate
chronized light sources is described in U.S. Pat. No. 6,575,       positional synchronization for devices which rotate in vertical
585 to Nelson, et al. This system is essentially a small, por-     or near vertical planes. The internal compass can become
table, battery operated amusement device that spins an array 40 confused if the azimuth or angular orientation of its intended
of lights. A small control circuit is located on the rotating      operational plane is shifted to a degree at which it cannot
member, proximal to the light array. The control circuit con-      properly track the Earth's magnetic field. In addition, prox-
tains predetermined embedded ornamental patterns that              imity to various metals, magnetic fields, and radio frequency
cause the light array to illuminate in a predetermined pattern,    interference from cellular phones, vehicle electronics and
synchronous to their speed. This causes an ornamental lighted 45 other high frequency sources also interferes with compass
display of shapes, colors, images or text to appear, depending     function via direct magnetic field distortion or by subsequent
on the predetermined pattern data integral to the control cir-     inductive jamming of sensitive compass support circuitry.
cuit. The embodiment shown uses a rotating contact system,         This confuses positional synchronization, and thus would
such as a slip-ring style contact, to directly energize a control  corrupt and distort the images output on the illuminated array,
circuit and lights on the moving blades. This allows the sta- 50 making the device unsuitable for use in conjunction with
tionary battery pack to directly connect its power wires to the    vehicles and/or vehicle wheels.
illumination system and illumination control circuit on the           Other devices which utilize scarming technology may be
moving rotor.                                                      found on the internet. These devices are commonly known
   Because the system described by Chernick is primarily           online as "propeller clocks." The name "propeller clock" is a
designed to be a very affordable children's toy, it is not 55 slang term that describes many persistence of vision displays
capable of the advanced requirements necessary to display          that arose as a niche hobby after Robert Blick created what is
true color synchronized switching. The control circuit             presumed to be the first persistence of vision LED display that
described is primarily a low cost pre-progranimed device that      displayed a clock face. The clock was comprised of a rotating
displays a few visual patterns of varying colors. User select-     LED array that spun much like an airplane propeller, thus
ability of pre-programmed patterns is not present, to keep 60 initiating the term "propeller clock" that has become a
production cost low, and minimize user interface parts.            generic name for many similar rotationally scanned devices.
Therefore, upon turning the toy on, illumination patterns are      More specifically, most of these devices take the form of a
generated by the digital controller in a predetermined manner.     rotating array of LEDs, a motor system to power the rotation,
The user does not select from predetermined groups of              a system of delivering power to the motor and rotating LEDs,
images or messages to be displayed. Thus, the preferred 65 and a system to synchronously energize the LEDs, thus allow-
embodiment shows only a simple on/off hardwired switch as          ing the rotating array to visually display one or more desirable
the only human interface device present.                           patterns.
       Case 6:25-cv-00189-AM                        Document 1-3                Filed 05/07/25              Page 27 of 37


                                                       US 8,411,108 B2
                                5                                                                      6
   In general, this body of prior art addresses and solves some        numerous variations and enhancements to wheel mounted
of the technical challenges that surround all rotational dis-          display systems that are described herein in regards to the
plays. These technical challenges include construction of              present invention.
rotating displays, selection of appropriate high brightness               Accordingly, it is a primary objective of the instant inven-
LEDs for monochromatic displays, proper balance and vibra- 5 tion to provide a high quality rotational display apparatus in
tion control of rotating displays, methods of delivering reli-         combination with a display device such as a vehicular wheel
able electrical power to the rotating portion of displays, meth-       to provide ornamental and functional displays.
ods and hardware for position sensing on the display, data                It is a further objective of the instant invention to provide a
delivery for displaying images on rotating arrays, program-            rotational display apparatus having the capability of produc-
                                                                    10 ing a true color images that are substantially equivalent to that
mable integrated circuit (PIC) programming and related
costs.                                                                 of a modern day TV or high quality computer monitor.
                                                                          It is yet anotherobjective of the instant invention to provide
   While all of the prior art devices are capable of providing
                                                                       a rotational display apparatus that is capable of displaying
relatively simple displays, none of the prior art devices are
                                                                       both cylindrical and planar type displays in a single appara-
capable of providing true color or streaming video. In addi- 15 tus.
tion, all of the prior art devices display images directly from           It is a still further objective of the instant invention to
their plane of rotation. That is, the devices twist the (normally      provide a rotational display apparatus which extends the illu-
horizontal) ground plane of the image or text around the axis          minating elements to the center of the display device such as
of rotation causing, text, numbers and animations to be dis-           a wheel to allow center-crossing of images.
played and scrolled in a circular pattern along an artificial 20          Still yet another objective of the instant invention is to
bottom line. This causes the user to read text that bends              provide a rotational display apparatus in combination with a
around the circle of rotation, as opposed to across the circle of      vehicular wheel capable of displaying text and images across
rotation. This design feature is common to the prior art and is        a linear bottom line.
a result of a not defining a real horizontal reference within the         Yet another objective of the instant invention is to provide
actual programming code, data processes and internal feed- 25 a rotational display apparatus in combination with a display
back loops that process and ultimately synchronize output              device such as a vehicular wheel capable of providing virtual
data to illuminate sections of a rotational display. Not defin-        headlight, tail light, brake light, and directional signals.
ing a real visual ground plane reference for display purposes,            Accordingly, it is a primary objective of the instant inven-
and further not correlating a visual display ground plane with         tion to provide a panel display device such as a fold out
the horizon or actual ground, eliminates related prograniming 30 communication device with a rotational scanning display
complexities and internal algorithms. The non-presence of              apparatus to provide message communication and image dis-
this feature in the prior art allows for the use of a simple, low      plays.
cost microprocessor controllers with limited complexity.                  It is a further objective of the instant invention to provide a
However, the devices can be difficult to read and render the           panel display device having the capability of producing a true
possibility of full motion video displays across the entire 35 color scanned images.
virtual disk impossible.                                                  It is a still further objective of the instant invention to
   Still yet, the geometry of all prior planar display devices         provide a panel display device which extends the illuminating
has some object or component mounted at the center of the              elements to allow center-crossing of images.
circle of rotation that blocks the presence of illuminating               It is a still further objective of the instant invention to
elements. Thus, the total display area that could potentially 40 provide a display device with a rotational scanning display
produce an illuminated image is hindered by a "hole" or                apparatus to provide message communication and image dis-
circular blank spot at the middle of the circle. This geometric        plays in three dimensions.
limitation, which also applies to and is later addressed by the           Other objects and advantages of this invention will become
invention disclosed herein, provides another reason why text           apparent from the following description taken in conjunction
and images are displayed in a manner to twist around the 45 with any accompanying drawings wherein are set forth, by
center of rotation. Simply put, if the center does not have            way of illustration and example, certain embodiments of this
illumination hardware, any image programmed to intersect               invention. Any drawings contained herein constitute a part of
the center of the circle would not display properly.                   this specification and include exemplary embodiments of the
   This same limitation also affected the quality of early scan-       present invention and illustrate various objects and features
ning image systems, like those ofNipkow and Baird. It is also 50 thereof.
of importance to mention that the aforementioned display
systems of the late 1800s and early 1900s, in many cases, did                                     SUMMARY
not utilize the full optical range of their scanning disks for this
very reason. Instead, a dark colored shield would cover most              The present invention provides a system which integrates
of the scanning disk displays, and a small window cut in the 55 unique lighting technologies, switching systems, mounting
shield would usually frame a small area toward the outside of          systems, information delivery systems and power supply sys-
the disk, where linear scanning velocities were the greatest.          tems to provide a display device such as a vehicular wheel,
Through the window, a small portion of the scanning disk was           greeting card and popup book to provide an advanced, high
visible, and the image or television program was synchro-              quality visual display apparatus. These technologies, and
nized to appear in this window. The dark colored shield that 60 their many unique applications, provide for a novel and useful
covered the majority of the scanning disk essentially pre-             series of video display devices that are small, lightweight,
vented the observer from viewing areas that were optically             efficient and have the capability of producing a clear, bright,
distorted or incapable of displaying visual imagery, as was the        high definition image that is equivalent to that of a modern
axis of rotation and the areas proximal thereto.                       day TV or high quality computer monitor. Further applica-
   Further yet, the prior art does not disclose or suggest a 65 tions of the disclosed technologies allow the installation of
rotational display device which operates in conjunction with           compact rotary video displays in numerous applications
a motor vehicle. Nor does the prior art disclose any of the            where rotary display devices are equipped with the disclosed
       Case 6:25-cv-00189-AM                      Document 1-3               Filed 05/07/25             Page 28 of 37


                                                     US 8,411,108 B2
                              7                                                                    8
technologies to display visual images, videos and text while        light-up specific elements of the assembly at specific times
rotating. The compact, energy efficient, high optical quality       and/or positions during rotation. This causes the rotatable
technology disclosed herein is relatively inexpensive to mass       assembly to display predetermined image( s), text, animations
produce and can be applied to many unusual locations. The           or other visual information that is pre-loaded, programmed or
primary application for rotational scanning systems dis- 5 otherwise provided to the controller from the computing
cussed herein is an electronically controlled display system        device.
disposed upon or made integral to a motor vehicle wheel with           One embodiment of the device combines multiple syn-
both ornamental and functional applications. The compact,           chronized illuminating assemblies that share a common axis
energy efficient, high optical quality technology disclosed         of rotation, but are positioned at different angles with respect
herein is relatively inexpensive to mass produce and can be 10 to the axis, to provide more than one image plane or more than
applied to many forms of display devices such as vehicle            one angle or set of angles for light emission direction. Such an
wheels, greeting cards, popup books, regular books, maga-           arrangement, when synchronized to minimize interference
zines and the like.                                                 and separate images in a predetermined sequence, provides a
   The system is preferably configured for connection to dis-       three dimensional image.
play information from a portable or stationary computing 15            The invention also involves the provision of a persistence
device that includes hardware and/or software, provide,             of vision system capable of producing a three dimensional
import, manipulate, store and selectively display visual infor-     image that can be either still or animated. It can utilize an
mation of the user's choice. Such devices may include, but          illumination assembly that will move about a plurality of
should not be limited to, palm sized computing devices, por-        different axes of rotation.
table video game systems, laptop computers, cellular phones, 20        The invention further involves the provision of a vision
audio systems, navigation systems, vehicle electronics,             system that can be used in a panel type device, such as a
mobile video systems, multi-function displays or other              greeting card, picture frame or popup book to display a planar
devices that typically employ a visual display.                     or cylindrical image. The vision system may also have an
   The computing device transfers information regarding the         illumination assembly configured to produce a three dimen-
data to be displayed to a rotatable assembly which includes a 25 sional image.
controller and an illuminating assembly. The illuminating
assembly includes a plurality of illuminating elements. The                  BRIEF DESCRIPTION OF THE FIGURES
illuminating elements are synchronized by the controller to
light-up specific elements of the assembly at specific times           FIG. 1 is a perspective view of a vehicle illustrating the
and/or positions during rotation. This causes the rotatable 30 instant invention in operation upon a rotating motor vehicle
assembly to display predetermined image( s), text, animations       wheel;
or other visual information that is pre-loaded, progrannned or         FIG. 2 is a perspective view of the vehicle shown in FIG. 1
otherwise provided to the controller from the computing             illustrating one embodiment of the instant invention utilizing
device.                                                             an LED illuminating assembly in conjunction with a motor
   One embodiment of the device combines multiple syn- 35 vehicle wheel;
chronized illuminating assemblies that share a common axis             FIG. 3 is a perspective view of a motor vehicle wheel
of rotation, but are positioned at different angles with respect    illustrating one embodiment of the rotating assembly of the
to the axis, to provide more than one image plane or more than      instant invention for producing cylindrical or angular images;
one angle or set of angles for light emission direction. Such an       FIG. 4 is a perspective view of a motor vehicle wheel
arrangement, when synchronized to minimize interference 40 illustrating one embodiment of the instant invention utilizing
and separate images in a predetermined sequence, provides a         and LCD illuminating assembly;
three dimensional image. The device may also provide a drive           FIG. 5 is a schematic of one embodiment of the instant
to move illuminating assemblies about multiple axes of rota-        invention;
tion to provide a three dimensional image.                             FIG. 6 is a schematic of one embodiment of the instant
   In further embodiments the instant invention may be uti- 45 invention;
lized for use as a display system in rough service environ-            FIG. 7 is a partial perspective view illustrating one means
ments such as on helicopter main blades, tail rotors, impel-        for delivering power to the rotatable assembly;
lers, turbines, machine tools or rotating components in                FIG. 8 is a partial perspective view illustrating one means
manufacturing systems and engines.                                  for delivering power to the rotatable assembly;
   The system is preferably configured for connection to 50            FIG. 9 is a partial perspective view illustrating one means
receive image display information from a portable or station-       for delivering power to the rotatable assembly;
ary computing device that includes hardware and/ or software,          FIG. 10 is a broken partial perspective view illustrating one
to provide, import, manipulate, store and selectively display       means for delivering power to the rotatable assembly;
visual information of the user's choice. Such computing                FIG. 11 is a partial perspective view illustrating the motor
devices may include, but should not be limited to, palm sized 55 vehicle wheel of FIG. 3 in operation;
computing devices, portable video game systems, laptop                 FIG.12 is a simplified schematic view ofa display system
computers, cellular phones, audio systems, navigation sys-          for displaying illuminated images in three dimensions;
tems, vehicle electronics, mobile video systems, multi-func-           FIG.13 is a front elevation simplified schematic view of the
tion displays or other devices that typically employ a visual       display system of FIG. 12;
display. The user may effect the data transfer or a sales person 60    FIG. 14 is a side elevation simplified schematic view of the
at a store may effect the data transfer to provide a personalized   display system of FIG. 12;
message in the displayed image(s).                                     FIG. 15 is a top plan simplified schematic view of the
   The computing device transfers information regarding the         display system of FIG. 12;
data to be displayed to a rotatable assembly which includes a          FIG. 16 is a perspective schematic view of the display
controller and an illuminating assembly. The illuminating 65 system of FIG. 12 illustrating two axes of rotation;
assembly includes a plurality of illuminating elements. The            FIG. 17 is a schematic view of the display system and the
illuminating elements are synchronized by the controller to         control and drive components;
       Case 6:25-cv-00189-AM                      Document 1-3               Filed 05/07/25             Page 29 of 37


                                                     US 8,411,108 B2
                              9                                                                   10
   FIG. 18 is a schematic view of one form of the display            formats which may include, but should not be limited to:
system illustrating its use to show a global position;               JPEG, BMP, AVI, Quicktime and the like. The computer may
   FIG. 19 is a perspective view of the display system showing       also accept popular hardware methods of transferring stored
a displayed image in 3-D;                                            digital information which may include, but should not be
   FIG. 20 is a perspective view of the display system linked 5 limited to: CDs, DVDs, various flash memory cards, USB
to an audio system such as a broadcast radio station;                ports, wireless connections, optical connections, IR ports and
   FIG. 21 is a perspective view of a panel communication            the like. The computer provides a high level ofuser selectivity
device in the form of a two panel greeting card;                     and may include enhancements such as touch screens, digital
   FIG. 22 is a perspective view of a greeting card similar to       pads, keyboards and suitable combinations thereof, all well
that shown in FIG. 21 but using a plurality image creating 10 known in the art, which allow a user to select which images or
illuminating assemblies;                                             videos should be displayed on the rotational display system
   FIG. 23 is a perspective view of a greeting card as seen in       12 during operation thereof.
FIG. 21, but having the image illuminating assembly in a                The computer 14 electrically communicates with the rotat-
stopped condition;                                                   able assembly via the controller 16. The controller is prefer-
   FIG. 24 is a perspective view of a greeting card but using an 15 ably positioned within the rotatable assembly, illustrated
alternative mounting of illuminating assemblies;                     herein as a motor vehicle wheel 26. The controller includes
   FIG. 25 is a perspective view of a greeting card showing a        circuitry suitable to accept communications from the com-
pair of images as displayed each in a plane generally parallel       puter via radio, as shown in FIG. 5 or optical transmission, as
to a respective display panel;                                       shown in FIG. 6. A most preferred embodiment utilizes wire-
   FIG. 26 is a perspective view of two alternative illuminat- 20 less micro transmitters and receivers, these devices are
ing assemblies;                                                      readily available from Freescale Semiconductor Inc. Of Aus-
   FIG. 27 is a perspective view illustrating greeting card with     tin, Tex. and include integrated circuits that can at least
a rotatable scanning assembly that displays an image on a            receive data from the computer as may be utilized to provide
surface of rotation generally normal to the plane of rotation of     two-way communication between the computer and the
the rotatable assembly;                                           25 receiver. The controller also includes circuitry capable of
   FIG. 28 is a perspective view of a greeting card with por-        synchronously illuminating the illuminating elements 22 of
tions broken away to illustrate the mounting of various parts        the illuminating assembly 18, thus producing a visual output.
to the card;                                                         The specific hardware and/or software utilized within the
   FIG. 29 is a perspective view of an alternative embodiment        controller will vary based upon the type, size and quantity of
of a panel communication device in the form of a popup book; 30 illuminating elements, as well as the rotational speed of the
and                                                                  rotatable assembly, and the complexity of text, numbers,
   FIG. 30 is a perspective view of a second alternative             images or animations to be displayed through the rotatable
embodiment of a panel communication device in the form of            assembly 18. The primary job of the controller is to receive
a free standing picture frame.                                       information regarding the desired display from the computer
   Like numbers used throughout the figures represent like 35 and synchronously energize individual illuminating ele-
and or similar parts and/or construction.                            ments, clusters or pixels within the illuminating assembly 18
                                                                     to produce one or more predetermined images. In order to
                 DETAILED DESCRIPTION                                properly synchronize the illuminating elements 22 for illumi-
                                                                     nation at specific positions within the rotation of the illumi-
   While the present invention is susceptible of embodiment 40 nating assembly 18, the controller must know its position
in various forms, there is shown in the drawings and will            with respect to a predetermined point within the rotation.
hereinafter be described a presently preferred embodiment            Thus, the controller 16 includes a means of synchronization
with the understanding that the present disclosure is to be          that perceives the passing of one or more positions during
considered an exemplification of the invention and is not            rotation of the rotatable assembly 24. The simplicity, com-
intended to limit the invention to the specific embodiments 45 plexity or overall effectiveness of any position sensing appa-
illustrated.                                                         ratus within the controller may vary depending on the appli-
   Referring to FIGS. 1-10, various embodiments of the               cation. Examples of readily available position sensing
instant invention are illustrated as being incorporated into the     devices include, but should not be limited to: gyroscopes,
wheels of a motor vehicle 10. In general, the disclosed sys-         magnetic sensors, Hall Effect sensors, lasers, infrared
tems are rotational display systems 12 that display user 50 devices, radio-frequency devices, optical/reflective tachom-
selectable visual information such as images, text, numbers,         eters, laser tachometers, mechanical position (rotary) encod-
symbols, animations, videos and the like upon the wheel of a         ers, electromagnetic sensors, accelerometers, displacement
vehicle during rotation thereof. It is important to note that the    sensors and suitable combinations thereof. In addition, Pro-
component description below is a general way to explain the          grammable Logic Control "PLC" technologies from various
system and its' basic components. Given modern technology, 55 industrial automation systems, machinery and robotics utilize
many or all of the components could be combined or split in          numerous varieties of advanced, miniature, rugged, program-
many ways and thus should not be limited to the specific             mable position sensing systems. These PLC position sensing
component descriptions included herein. The general com-             systems and components have become standard, low cost,
ponents of the system include a computer 14, a rotatable             readily available and highly reliable within industrial auto-
assembly 24, and a means of power delivery 20 to the rotat- 60 mation and manufacturing technologies. Many miniature
able assembly.                                                       PLC components now feature sophisticated integrated
   The computer 14 provides for storage and recall of images         memory and internal computing power sufficient to integrate
which are wirelessly transferred to the rotatable assembly 24        many functions such as computing, control, sensing, feed-
which includes a controller 16 and an illuminating assembly          back, programming and visual display output on one single
18 (FIGS. 5-6). The computer 14 is a microprocessor type 65 compact rugged electrical device that can be programmed for
device that allows users to upload and store images, videos,         unique applications. Computer Programmable Logic Devices
logos, text, and the like by accepting various software file         (CPLDs) and Field Programmable Gate Arrays (FPGAs)
       Case 6:25-cv-00189-AM                      Document 1-3                Filed 05/07/25             Page 30 of 37


                                                      US 8,411,108 B2
                              11                                                                   12
such as those offered by Xilink and Altera semiconductor            40 is integrated into the moving portion of the rotatable
companies, both of San Jose, Calif., can be employed as             assembly 24, in this case the vehicle wheel 26. Other options
sophisticated multi-input PLC position sensing and control          may include various parasitic power generators that use micro
systems. Similar miniature electronic hardware devices such         magnetic assemblies or piezo electric devices to produce
as micro-scale radio transmitters like those offered by Analog 5 power from mechanical vibrations, harmonics or centrifugal
Devices Inc of Norwood, Mass., coupled with miniature               forces (not shown). Further systems could employ a generator
multi-axis position sensors such as those offered by Honey-         located inside a hub and axle assembly as shown in FIG. 10,
well SSEC of Plymouth, Minn. allow a suitable PLC system            or a free spinning generator that uses a counterweight to
to utilize wireless technologies for the acquisition, processing    stabilize one part of a free spinning generator while the other
and sharing of position sensing data within a rotational dis- 10
                                                                    part rotates with a rotatable member connected to, or part of
play system. Various PLC systems and components provide
                                                                    the illuminating assembly (much like a Rolex perpetual watch
yet another option for reliable rotational display synchroni-
                                                                    winding mechanism that uses an internal rotatable counter-
zation hardware that are rugged and designed to operate in a
variety of physically and electrically demanding environ-           weight  to self wind an energy storage spring, but on a larger
ments such as within the wheel of a motor vehicle. Such 15 scale and adapted to generate electric power).
systems and associated sub components are available from               Referring to FIG. 10, an alternative embodiment of the
Omron of Kyoto, Japan and Silicon Laboratories of Austin,           instant invention is illustrated wherein a portion of the motor
Tex.                                                                vehicle's drive-line and/or suspension 30 (FIG. 7) is used to
   The illuminating assembly 18 can have numerous inherent          transfer a magnetic field of a transformer from a fixed part of
variations in size, length and resolution (resolution or defini- 20 the motor vehicle to a secondary transformer coil 28 and
tion is the number of actively switchable or addressable illu-      subsequent power circuit integral to the rotating wheel.
minating elements per unit of area; the higher number indi-         Within this embodiment the vehicle hub assembly, axle,
cates that a higher quality image can be displayed). The            wheel bearings, etc. act as a ferrous core for an electrical
illuminating assembly can also be made from many different          transformer to deliver power to the rotating wheel assembly.
illuminating elements which may include, but should not be 25          Referring to FIGS. 1-11, the specific applications and spe-
limited to: light emitting diodes (LEDs), organic light emit-       cific uses of the rotary display system ultimately determine
ting diodes (OLEDs), electroluminescent strips (ELs), liquid        which variations of many possible system architectures will
crystal displays (LCDs ), thin film transistor liquid crystal       be employed. Likewise, the specific applications desired by
displays (TFTs), plasma displays, small light bulbs or suit-        the user will determine what specific visual images, text,
able combinations thereof, and may be used to form an appro- 30 animations or combinations are to be displayed. Conse-
priate display for predetermined applications. Regardless of        quently, specific details of the user's application will also
the type of light generating instruments or apparatus used,         determine system parameters, such as what colors, bright-
individual elements of the illuminating assembly must be            ness, array size, array quantity, control systems, power sup-
controllable to appropriately illuminate at predetermined           plies should be used to best match the display system design
positions during rotation, thus forming a predetermined 35 to its intended application. For example, as it is an object of
image. Each choice of illuminating element has different            the instant invention to display life-like images on a rotational
characteristics, advantages and disadvantages. LEDs for             display system without bending the horizontal ground plane
example, are bright, efficient and durable, and can be surface      around the axis of the display system, it is necessary to under-
mounted on a thin PC board with supporting electronic sub-          stand the operation of the prior art systems that wrap the
systems, all at a very low cost. A strip of color LCDs, such as 40 horizontal plane around the axis of rotation. Within the prior
the material used on laptop computer screens, boasts very           art images or text to be displayed are scarmed or programmed
high resolution and the ability to display life-like portrait       in a linear marmer, much like a desktop scarmer or photo-
quality pictures while rotating. LCDs derive their active light     copier moves a lighted bar across an image using a flat rect-
emitting elements from the controlled synchronization of            angular surface plane. At each point (pixel or dot) in the plane
individual pixels or groups of pixels that, viewed together, 45 that contains the image or text to be displayed a digital pro-
form an integral (somewhat virtual, software controlled)            cessor assigns the corresponding X and Y coordinates of each
array of illuminating elements. Thus, the general definition of     point converting it into a simple data chain ofX and Y coor-
an illuminating assembly 18 is understood to apply to devices       dinates. Essentially, the image to be displayed has each of its
where light emitting elements 22 are connected and integral at      points graphed like it was to be reproduced on a rectangular,
a high density, miniature, microscopic or molecular level, 50 flat planar sheet of graph paper. The data chain, like a bit map
such as the illuminating elements or combinations of the            image, is then fed into the controller that illuminates the
illuminating elements described above.                              lighted portions of a rotating display.
   Referring to FIGS. 5-10 various means of delivering power           Y represents the height position of a point to be displayed
20 to the rotating assembly 24 are illustrated. Regardless of       whereas X represents the horizontal position of a point to be
the specific construction of the controller, position sensors, 55 displayed. Therefore, out of all XY coordinate pairs that form
illuminating assemblies, interfaces, etc. there are many alter-     the image, the lowest Y coordinate is assigned to be displayed
native and viable options for power delivery means that can         on the illuminating section closest to the axis of rotation and
provide adequate electrical power to the rotatable assembly         the highest Y coordinate is assigned to the illuminating sec-
that may be partially present on the moving (rotating) portion      tion of the display that is closest to the perimeter.
of the system. Batteries, solar panels, rechargeable systems 60        The points on the X axis (that each pair with a respective Y
and hardwired systems that employ slip-ring contacts or elec-       coordinate) are assigned to an arbitrary predetermined start-
trical commutator and brush assemblies are examples of              ing and stopping point that correspond with one 360 degree
some power delivery means that are well known in the art.           rotation of the circular display system. In essence, the lowest
Within the preferred embodiment a split high frequency              X value is assigned to the degree position where the image
transformer 36 is utilized. In this embodiment, the primary 65 begins in the rotational sweep and the highest X coordinate is
coil 38, in electrical communication with the vehicle battery,      assigned to the degree position where the image ends. In
remains fixed to the motor vehicle 10, and the secondary coil       essence, an XY coordinate system is converted to display Y
       Case 6:25-cv-00189-AM                       Document 1-3               Filed 05/07/25              Page 31 of 37


                                                      US 8,411,108 B2
                              13                                                                    14
coordinates (as illuminated sections) only after the X coordi-     position. The blue is at 10 degrees and the green is at 20
nate set has been converted to represent angular positions on      degrees, respectively, proceeding clockwise around the
a circular system.                                                 circle. Due to the relative positions, the light discharge posi-
   This allows illuminating portions of the display that corre-    tions for each primary color would need to be shifted. In
spond to the Y coordinates to illuminate at the instant that the 5 essence, the green bar would switch it's green segments on t
illuminating display line crosses each point of rotation that      to represent a predetermined portion of an image to be dis-
corresponds to the matching X coordinates.                         played. We can call this arbitrary portion of an image "frame
   Likewise, this simple system easily converts text, images       1". So, the green bar would illuminate appropriate sections
and other visuals to work properly on a rotational display by      correlated to frame 1 at the 20 degree position in the rotation.
reassigning the X coordinate set to appropriate angular posi- 10
                                                                   However, the blue and red bards would have to wait until they
tions on the circle, while allowing the Y coordinate set to
                                                                   are passing the degree position to display their luminous
control which sections of the illuminating display are
                                                                   patterns associated with frame 1. In essence, the red bar
switched on or off, as it rotates past each point X. This also
allows for easy positioning and orientation of an image to be      would    require a shift in it's X coordinate set to add 20 degrees
displayed. For example, if a circle had its top most point 15 clockwise to it's luminous discharge timing for each frame.
defined as zero degrees and its bottom most point defined at       The blue bar would require a 10 degree forward advance on
180 degrees, assuming that the circular scanning display           luminous discharge timing. The green would require a zero
apparatus moved in a clockwise direction, one could position       degree forward advance, meaning that the green has no shift
an image or text on the right half of the circle by defining the   in X coordinates (angular position) for a given frame; or
lowest X value as zero degrees and the highest X value at 180 20 simply put, the green becomes the arbitrary reference point
degrees. If one wished to further compress the text or image       that the other colors are referenced against the coordinate
into the upper right quarter of the circle, one would assign the   timing.
lowest X value to zero degrees and the highest X value to 90          In order for any rotational display system, monochromatic
degrees.                                                           or true color, to display an image across the entire circular
   This aforementioned example of how a display scrolls 25 face of a rotational display apparatus, the X andY coordinates
images and text around a circle is exemplary only for a mono-      that define the image to be displayed in Cartesian terms must
chromatic system. If such a system were to have true color         simply be converted to polar coordinates. In short, any Car-
display capacities, it would essentially be the exact same         tesian XY coordinate is subject to the Pythagorean theorem
example, in triplicate with one chain of XY coordinates for        that models any XY coordinate as a triangle to derive the
each of the primary colors to be output to a true color capable 30 hypotenuse, or the distances from the center of the circle. In
display.                                                           this case, the hypotenuse for a particular coordinate now
   In essence, the image to be scanned or digitally converted      defines the distances from the axis of rotation where a point,
to binary data would be converted to XY coordinates just as        pixel or LED must illuminate at a predetermined angle to
described above, with one XY coordinate set for each color to      display a predetermined frame of visual output. The angle
be electronically mixed. In essence, the three coordinate data 35 correlated to this distance is found by using the tangent func-
sets would be (Xred, Yred); (Xblue, Yblue) and (Xgreen,            tion, thus indicating the numerical angle that would correlate
Y green). Likewise three separate data sets would have to be       the rotational position of the display. With the rotation angle
processed simultaneously in real time, fully synchronized,         and distance form the center known for any set of points that
starting and ending at the same time without any relative          combine to define an image, it is possible to display an image
processing delays between the red, blue or green data sets. 40 or text across the full face of the circle. Likewise, any such
   Consequently, the hardware would have to support tripli-        image to be displayed should have its coordinate sets elec-
cate electronic processing of each set and the rotational dis-     tronically stored in polar form.
play system would also require tri-color separately address-          It is also important to note that software or hardware used
able illumination sections to visually output the data.            to convert a Cartesian image to an identical image using polar
Although the electronic hardware and software is readily 45 coordinates should employ software or interfacing to prop-
available to accomplish this, no such devices have yet been        erly center the zero point of the Cartesian system across the
created. In application, it would be ideal to utilize micro sized  approximate center of the image before polar conversion.
tri-color LEDs due to their fast switching times, nearly instan-   Failure to do this, depending on the specifics of the software
taneous luminous rise and fall times, high brightness, high        developed for the rotational display, may cause an image to
efficiency and point-source geometry. Likewise, one slim 50 display off center as a result of positive integer values for any
rotating line of such tiny, tri-color high brightness LEDs         Cartesian XY coordinate set being converted to indicate a
would effectively mix the primary colors at the same visual        polar coordinate image in only one quadrant of a circle.
point, assuring that red, blue and green color output all occur    Likewise, both hardware and software interfaces should have
at the same rotational angle. This would create a low cost,        proper calibration features to properly center, tilt and prop-
high quality rotational output capable of true color display. 55 erly adjust any displayed images.
   If separate red, blue and green illumination sections are          Consequently, the process by which to convert digital
located at different points on a rotational display, output tim-   images, text and full motion video to polar coordination for
ing for each color must be appropriately shifted to maintain       full face rotational display is not difficult. It does however
persistence of vision, by properly tricking the human eye into     require more computerprograniming, and subsequently more
perceiving that all three colors are appearing to produce a 60 memory that an equivalent image that is displayed in wrap
seamless, true color image, by originating each of the primary     around mode as opposed to full face display mode. In addi-
colors from the same perceived location(s) in synchronous          tion, this mode is also capable of full color display if the same
timing.                                                            conversion and data processes are used for three primary
   Take, for example, three sets of micro LEDs forming             colors, as described prior to be output to a capable full color
addressable illumination lines extending from about the axis 65 rotational display device.
to the perimeter of a rotational display system. The red LED          For example, a police vehicle 10 (FIG. 11) or ambulance
line is arbitrarily located at the zero degree ( straight up)      may use the rotational display 12 to say "police" in a forward
       Case 6:25-cv-00189-AM                      Document 1-3              Filed 05/07/25             Page 32 of 37


                                                     US 8,411,108 B2
                             15                                                                  16
and/or side direction or to serve as extra emergency flashers.      appropriately colored LEDs to illuminate or flash appropri-
A large truck can display a "wide load" image on the wheel          ately while the wheel is stopped, thus allowing an observer to
display.                                                            see proper directional signals or hazard flashers disposed on
   A passenger car or truck can use the display as a system of      the wheel. The stopped wheel would not be able to display a
virtual brake lights, directional signals, extra headlights, haz- 5 graphic while stopped (such as a picture of a flashing yellow
ard flashers, etc. via a connection to the vehicle electric sys-    arrow indicating a directional signal). However, a wheel-at-
tem. Such a system would use the vehicle's electric system to       stop default sequence could take advantage of all appropri-
initiate the display of a flashing arrow image on the right         ately colored LEDs while the wheel is stopped by using them
wheels when the driver activates the right tum signal.              for directional or hazard lights.
   FIGS. 3 and 11 show unique shaped rotational display 10             One alternative embodiment of the instant invention uti-
systems that have illuminating element assemblies shaped to         lizes motor vehicle wheels which include "Spinners." Spin-
allow virtual brake-lights that only shine backward from the        ners is a slang term for freewheel rotating ornaments that are
rear wheels, virtual headlights that only shine forward, and        added to vehicle rims such as those disclosed in U.S. Pat. Nos.
directional signals that are viewable from many angles.             5,290,094 and 6,663,187 the contents of which are incorpo-
   All aspects of the above described rotational display sys- 15 rated herein in their entirety. These ornaments are typically
tem can be manufactured with infinite variety. At the least         placed on custom luxury cars and SUVs. They allow a portion
expensive end of the spectrum of product offerings, an after        of the vehicle wheel to continue turning while the car is
market stick-on LED strip pre-programmed with a graphic or          temporarily stopped or slowed. A combination which
ornamental design can be applied to a wheel with no user            includes spinners with the instant invention leads to a natu-
interface needed. An inexpensive stick-on thin PC board type 20 rally advantageous combination. This would allow the con-
car novelty could provide quick installation at low cost. A         tinuous use of rotational display system for videos or graphics
product one step higher may have a single color or multicolor       such as logos, ornaments, directional signals, brake lights,
after market LED display strip that can be attached to the          virtual headlights, etc. even while the vehicle is stopped.
wheel, with an inexpensive battery powered human interface             As a variation of the above embodiment, the spinners may
(like a small "credit card" sized remote control, similar to 25 further include activatable electric motors to rotate a portion
remotes included with after market car stereos, located in the      of the rims while the car is stopped for extended periods of
car) to select between a few pre-programmed graphics. More          time, thus allowing the rotational image display to run con-
expensive models would progressively incorporate more               stantly for display purposes such as a car show. Embedded
sophisticated controllers with more advanced connectivity to        software, related electrical power transmission hardware and
external software image sources. Likewise, more expensive 30 data transmission hardware connected to the wheel display
systems would likely incorporate brighter, higher resolution        system can be used to monitor motor speed through the rota-
LED displays with more substantial power delivery and data          tional displays' position sensor(s) and synchronization cir-
delivery systems at and around the vehicle wheel assemblies.        cuit( s). Motor speed or power can be adjusted or turned on/off
The best quality systems would support true-color capability        via the controller in the vehicle. Synchronization circuits
or at least highly synchronized multi-color capabilities to 35 could monitor the differential rotational velocities between
display a variety of images in life like color or near life like    the rotating wheel ornament and the vehicle wheel thus
color. The most versatile variations of the product would have      adjusting motor speed to maintain full visual display capa-
multiple illuminating assemblies and LED clusters at various        bilities throughout a range of vehicle speeds under predeter-
positions on the wheel at one or more angles, and more              mined conditions.
complex software to support their proper light discharge tim- 40       As a further variation of the above embodiment, a hub-less
ing. As shown in the drawings, the LED arrays (or any light         spinner connected to the outer perimeter or thereabout of the
producing arrays or clusters thereof) can be contoured and          wheel could be utilized. These spinners would be lighter in
positioned to project light from the rims in many specific          weight and less expensive than the present bulky ones. This
orientations. Light projecting toward the front of the vehicle      embodiment could provide an option for sports car/high per-
can be made into a virtual supplemental headlight, fog light, 45 formance enthusiasts who do not desire traditional heavy
driving light or other street legal form of forward illumina-       spinners. However, a thin spinner "ring" with a few LED
tion. The same arrays that pass rearward facing directions as       clusters or a continuous circle LED array disposed around the
the wheels rotate can be turned into virtual brake lights. The      ring would give a driver the ability to have wheel mounted
combination of various wheel mounted arrays and light clus-         virtual driving lights, brake lights, directional signals and
ters can be used as highly visible street legal directional 50 hazard flashers ... but without the complexity of a larger
signals with the use of standard DOT approved amber color.          spinner or a more complex wheel display system. This could
Likewise, sophisticated displays that utilize multiple illumi-      be simple and utilitarian without the extra hardware or inter-
nation assemblies, or ones directed at various angles may           faces for uploading images. This would be more for the sports
require software such as a plug and play style driver that          car enthusiast who wants the virtual signals/brakes/head-
identifies the wheel size, illuminating assembly positions, 55 lights to work while the car is stopped.
illuminating element colors and multi-axis illuminating                Referring to FIGS. 12-20, various embodiments of the
assembly angles to the control system in the vehicle to allow       instant invention are illustrated as being incorporated into an
proper display synchronization to produce clear and properly        image display system 110 utilizing a rotatable display assem-
positioned images. Likewise, a multitude of software pro-           bly 111 providing a plurality of axes of rotation of an illumi-
grams would provide a high degree of variety in selecting 60 nating assembly 112. Preferably, the axes of rotation are
both functional and ornamental images for the vehicle               generally perpendicular to one another. In general, the rota-
wheels.                                                             tional display assembly 111 displays visual information such
   Since a traditional motor vehicle wheel or rim will not          as images including, text, numbers, symbols, animations,
display an image while it is rotating, this is a limitation of the  videos and the like. It is important to note that the component
disclosed invention. However, if one embodiment of the dis- 65 description below is a general way to explain the system and
closed system utilizes the rims as directional signals, or haz-     its basic components. Given modem technology, many or all
ard flashers, on board hardware or software could allow all         of the components described herein could be combined or
       Case 6:25-cv-00189-AM                      Document 1-3              Filed 05/07/25             Page 33 of 37


                                                     US 8,411,108 B2
                             17                                                                  18
split in many ways and thus should not be limited to the          illuminating elements 121 per unit of area occupied by the
specific component descriptions included herein. The general      illuminating elements 121; the higher number indicates that a
components of the system include a computer 114 with a            higher quality image can be displayed). The illuminating
memory 115, at least one controller 117 and a means 120 of        assembly 112 can be made utilizing many different illumi-
power delivery to the display assembly 111. The rotatable 5 nating elements 121 as described above. Because of the rota-
display assembly 111 preferably has the controller 117            tion of the illuminating assembly 112, it provides a displayed
mounted thereto and includes the illuminating assembly 112        image larger the a motionless illuminating assembly.
that moves and carries a plurality of illuminating elements          Referring to FIGS. 12, 17, one means 120 of delivering
121 preferably providing discreet light sources.                  power to the display assembly 111 and computer 114 is
   The computer 114 provides for storage and recall of infor- 10 illustrated. The means 120 can include one or more batteries
mation for display during operation of the display assembly       133 or can include normal AC current such as from a plug-in
111. The information from the computer 114 is preferably          outlet. A switch 134 is provided and is operable to selectively
wirelessly transferred to the display assembly 111 which          connect the power means 120 to the other power using ele-
includes the controller 117 and the illuminating assembly 112     ments and effect their operation. The switch 134 may be any
(FIG. 12). The illuminating assembly 112 includes a plurality 15 suitable switch such as a membrane snap contact switch. It
of illuminating elements 121 operable to present an illumi-       may be manually operated as with a user's finger or may be
nated image 119 as instructed by the computer 114. The            configured to activate and deactivate upon relative movement
computer 114 includes a microprocessor 122 preferably hav-        of parts of the device 110. However, some applications may
ing an information transfer connector 124 that allows a con-      be able to use power from so called AC household current,
sumer, user or salesperson to upload and store information 20 since mobility may not be an issue. Regardless of the specific
regarding images, videos, logos, text, and the like for display   construction of the controller 117, position sensors 130, illu-
by accepting various software file formats which may              minating assembly 112, interfaces, etc. there are many alter-
include, but should not be limited to: JPEG, BMP, AVI,            native and viable options for power delivery means that can
Quicktime and the like. The computer 114 may also accept          provide adequate electrical power to the display assembly
popular hardware methods of transferring stored digital infor- 25 111 that may be partially present on the moving (rotating)
mation which may be provided from CDs, DVDs, various              portion of the device 110. Batteries, solar panels, recharge-
flash memory cards, USB ports, wireless connections, optical      able systems and hardwired systems are examples of usable
connections, IR ports and the like. The computer 114 may          power delivery means that are well known in the art.
provide a high level of user selectivity and may include             FIG. 12 illustrates, in schematic form, the display system
enhancements such as touch screens, digital pads, keyboards 30 110. The display system 110 includes a support base 140, the
and suitable combinations thereof, all well known in the art,     display assembly 111 and a control system 150. The display
which allow a user to select which images or videos should be     assembly 111 is mounted to the base 140 and is operable to
displayed on the display assembly 111 during operation            effect the display of a selected image 119 using a lighted
thereof. The display system 110 may also be provided with a       display and the control system 150 is operable to control
fixed memory set of information to display preprogrammed 35 operation of the display assembly 111.
information.                                                         The base 140 may be of any suitable structure and configu-
   The computer 114 electrically communicates with the illu-      ration and is operable to support at least the display assembly
minating assembly 112 via the controller 117. The controller      111 during operation. It may be structured to be fixed or
117 is preferably positioned within or is suitably mounted to     portable. It is preferably adapted to rest on any suitable sur-
the illuminating assembly 112. The controller 117 includes 40 face, for example, a counter, table, desk or the like. It may be
circuitry suitable to accept communications from the com-         provided with a deck 141 and legs 142.
puter wirelessly as for example via radio or optical transmis-       The display assembly 111 includes the illumination assem-
sion, as shown in FIG. 17. Such devices are described above.      bly 112 and a drive system 161. The drive system 161
The computer 114 and/or controller 117 know the position of       includes at least one motor 162 and preferably a pair of
the illuminating assembly 112 with respect to a predeter- 45 motors, 162A, 162B to effect multi-axis rotation of the illu-
mined or reference position within the rotation. Preferably the   mination assembly 112. As shown, the illumination assembly
controller 117 knows the rotational position of the illuminat-    112 includes an arm 164 mounted to motor 162A which in
ing assembly and preferably the position system is part of the    turn is mounted to a support 163. The motor 162A has an
display assembly 111. The controller 117 includes a means of      output shaft with an axis of rotation which for a direct drive of
synchronization that perceives the rotatable assembly 112 50 the illumination assembly 112 is the axis of rotation of the
passing by one or more positions during rotation of the illu-     illumination assembly 112. The motor 162B is coupled to the
minating assembly 112. The simplicity, complexity or overall      support 163 to effect rotation of it in an axis of rotation
effectiveness of a position sensing apparatus 130 may vary        different than the axis ofrotation of the illumination assembly
depending on the application of the display system 110. The       112. Preferably, the axis of rotation of the support 163 is the
display system 110 is preferably provided with a position 55 same as that of the output shaft of the motor 162B. The two
sensors 130 for each axis of rotation (denoted 130A and 130B      axes of rotation of the output shafts of the motors 162A, Bare
for convenience). Examples of position sensing devices are        generally perpendicular. It is to be understood that a third axis
described above.                                                  of movement can be provided for the illumination assembly
   The display system 110 may also be provided with one or        112 limited only by interference between the illumination
more a tilt sensing devices 132 to indicate the degree of 60 assembly 112 and the support 163. The third axis of move-
rotation of the display assembly 111 from plumb in one or         ment could be an oscillating movement. The motors 162 can
more axes and provide signals, to the controller 117 to adjust    be any suitable motor having enough output torque and speed
the image display so it remains positioned at a predetermined     (angular velocity) to adequately drive the illumination assem-
angle of rotation from horizontal or vertical.                    bly 112.
   The illuminating assembly 112 can have numerous inher- 65         In the illustrate structure, the illuminating elements 121 are
ent variations in size, length and resolution (resolution or      mounted to the arm 164. Preferably, the arm 164 includes a
definition is the number of actively switchable or addressable    plurality of arm portions 164A, 164B extending in different
       Case 6:25-cv-00189-AM                      Document 1-3               Filed 05/07/25             Page 34 of 37


                                                     US 8,411,108 B2
                              19                                                                  20
directions, and preferably in opposite directions from the axis      character 182 and accompanying text message 183. In the
ofrotation of the arm 164. The illustrated arm 164 is generally      illustrated embodiment, the character is a jack-a-lantern and
straight to provide a generally planar surface of rotation. It is    the text is HAPPY HALLOWEEN in 3-D and can be in color
to be understood that the there can be a plurality of arms 164,      if desired.
a plurality of arm portions and that the arm 164 can be con- 5          FIG. 20 illustrates an additional embodiment of the present
figured to provide surfaces of rotation of different shapes, for     invention. This embodiment can be interactive and receives
example conical or the like. It is also preferred that there be      input from one or more auxiliary data input sources. As
illuminating elements 121 exposed on various sides 165 of            shown, data input 185 can be received from a radio, digital
the arm 164 so they may be seen regardless of the degree of          storage media like a DVD player or television station or from
rotation of the support 163 about its axis of rotation.           10 a simulcast of television and radio. Audio output from the
    The control system 150 includes the computer 114 and its         display system 110 can be output on speakers 175 and video
memory 115 and microprocessor 122, position sensors 130A,            is displayed by the display assembly 111. Audio output par-
B for the illuminating assembly 112 and the support 163              ticulars 188 may be displayed along with the video. Station
(providing the rotational position of the rotating illuminating      identification 189 may also be displayed. This data displayed
assembly 112 and the support 163), the connector 124 and the 15 may be foreground, background and separate from the subject
controller 117. The control system 150 is operable to provide        display 190.
signals to the illumination assembly 112 and control energy             Referring to FIGS. 21-30, various embodiments of the
distribution to its illuminating elements 121 to effect their        instant invention are illustrated as being incorporated into
on/off conditions and preferably their intensity of illumina-        panel communication devices 211 like greeting cards, books,
tion at predetermined locations during movement of the illu- 20 magazines and picture frames having at least one display
minating assembly 112. The location of an illuminating ele-          panel for carrying a rotatable display assembly designated
ment 121 is provided by its position on the illuminating             generally 212. In general, the rotational display assemblies
assembly 112 and the position sensors 130.                           212 display visual information such as images, text, numbers,
    The drive system 161 provides for movement of the illu-          symbols, animations, videos and the like. The general com-
minating assembly 112 preferably within a three dimensional 25 ponents of the system include a computer device or system
figure or space 167 such as a sphere. The computer 114 knows         214 with a memory 215 (FIG. 28), a controller 217 and a
the position of each of the illuminating elements 121 within         means of power delivery 220 to the rotatable assembly 212.
the space 167 and can effect selective operation of the illu-        The rotatable assembly 212 preferably has the controller 217
minating elements 121 at predetermined locations or coordi-          mounted thereto and includes an illuminating assembly 219
nates within the space 167 to create a selected image 119. The 30 that moves and carries one or more illuminating elements
image 119 may be a still image or an animated image. The             221.
computer 114 can use any suitable coordinate system, such as            The computer 214 provides for storage and recall of infor-
Cartesian coordinates, polar coordinates in space (spherical         mation for display during operation of the rotatable assembly
coordinates), using two angles (8 ,cp )for azimuth and zenith        212. The information from the computer 214 is preferably
and radial distance (p ). Conversion between the various sys- 35 wirelessly transferred to the rotatable assembly 212 which
terns is well known.                                                 includes the controller 217 and the illuminating assembly 219
    FIGS. 12-15 illustrate the basic components of the inven-        (FIG. 28). The computer 214 includes a microprocessor
tion. FIG. 16 shows the illuminating assembly 112 sweeping           device 222 preferably having an information connector 224
a space 167 in the form of a sphere.                                 that allows a consumer, user or salesperson to upload and
    FIG. 17 shows details of the control system 150. As shown, 40 store information regarding images, videos, logos, text, and
it includes the computer 114 with a microprocessor 122 and           the like for display by accepting various software file formats
memory 115. Audio and video data inputs 170, 171, respec-            as described above. The computer 214 may provide a high
tively, may be connected to the computer 114 via the connec-         level of user selectivity and may include enhancements as
tor 124. Non 3-D video input can be converted to 3-D by the          described above, which allow a user to select which images or
input device 171 or may be converted by the computer 114. 45 videos should be displayed on the rotational assembly 212
The position sensors 130A, B provide position data to the            during operation thereof. The communication device 211
computer 114 preferably substantially continuously to effect         may also be provided with a fixed memory set of information
timely output of data for control of the on/off of the illumi-       to display preprogranimed information.
nating elements 121 of the illuminating assembly 112 as                 The computer 214 electrically communicates with the
described above. The computer 114 can also be operably 50 rotatable assembly via the controller 217. The controller is
coupled to the motors 162A, B for control of their operation         preferably positioned within or is suitably mounted to the
as for example control of on/off and/or operating speed (an-         display assembly 212. The controller 217 includes circuitry
gular velocity). The computer 114 can also provide audio             suitable to accept communications from the computer wire-
output signals to an amplifier or directly to speakers 175 and       lessly as for example via radio or optical transmission as
the signals may be compressed as at 176. Optionally, the 55 described above, as shown in FIG. 28. A most preferred
control system may also include external memory 177 and              embodiment utilizes wireless micro transmitters and receiv-
user interface(s) 178 operably coupled to the computer 114.          ers, as described above that can at least receive data from the
    FIG. 18 illustrates one embodiment of the invention. It          computer 214 as may be utilized to provide two-way com-
includes a display system 110 that is coupled, wirelessly or by      munication between the computer 214 and the receiver por-
wire to a data input device such as a GPS locator 180. Coor- 60 tion of the controller 217. The controller 217 also includes
dinate information can be input to the system 110 from the           circuitry capable of synchronously illuminating the illumi-
locator 180. The display system 110 can be programmed to             nating elements 221 of the illuminating assembly 219, thus
provide a 3-D image of a map or of the globe and then provide        producing a visual output. The specific hardware and/or soft-
an indicator 181 to show where the GPS coordinates indicate          ware utilized within the controller 217 is described above.
a location.                                                       65 The primary job of the controller 217 is to receive information
    FIG. 19 illustrates the display system 110 and in particular,    regarding the desired display from the computer 214 and
the display assembly 111 providing a 3-D image 119 of a              synchronously energize individual illuminating elements
       Case 6:25-cv-00189-AM                      Document 1-3               Filed 05/07/25             Page 35 of 37


                                                     US 8,411,108 B2
                             21                                                                   22
221, clusters or pixels within the illuminating assembly 219         mounted to the panel 241. The illustrated embodiment has the
to produce one or more predetermined images or sequence of           computer 214, the power means 220, switch 234 and connec-
images. The controller 217 properly synchronizes the illumi-         tor 224 mounted thereto. The power means 220 is connected
nating elements 222 for illumination at specific rotational          to the motor 244, controller 217 and position sensor 230 by
positions within the rotation of the illuminating assembly 5 conductors 246. Information from the computer 14 can be
219. The computer 214 and/or_controller 217 know the posi-           transmitted to the controller 217 wirelessly as described
tion of the illuminating assembly 219 with respect to a pre-         above. The device 211 may also include a tilt sensor 248 that
determined or reference position within the rotation. Prefer-        is operable to provide a signal to the computer 214 indicating
ably the controller 217 knows the rotational position of the         a degree of tilt or rotation of one of the panel carrying the
illuminating assembly and preferably the position system is 10 rotatable assembly 212 in a plane generally perpendicular to
part of the rotatable assembly 212. The controller 217               the axis of rotation of the illuminating assembly 219. More
includes a means of synchronization that perceives the rotat-        than one tilt sensor 248 may be provided when a plurality of
able assembly 212 passing by one or more positions during            illuminating assemblies 219 are utilized one for each assem-
rotation of the rotatable assembly 212. The simplicity, com-         bly. The tilt sensor 248 and computer 214 are operable to
plexity or overall effectiveness of a position sensing appara- 15 adjust the output of the controller 217 to ensure proper ori-
tus 230 may vary depending on the application of the device          entation of a displayed image 249 irrespective of the rota-
211. Examples ofreadily available position sensing devices           tional position of the panel supporting an illuminating assem-
are described above.                                                 bly 219.
   The device 211 may also be provided with a tilt sensing              It is to be understood that the illuminating assembly 219
device 231 to indicate the degree of rotation of a panel 234 of 20 may be provided with a transparent cover (not shown), such
the device 211 from plumb and provide a signal to the con-           as a vacuum formed dish to prevent inadvertent contact with
troller 217 to adjust the image display so it remains positioned     the illuminating assembly.
at a predetermined angle of rotation from horizontal of verti-          FIG. 22 illustrates an additional embodiment of the present
cal irrespective of the angle of rotation of the panel from a        invention. It is similar to the structure of FIGS. 21, 28, but
predetermined angle in a plane parallel to the plane of rotation 25 includes a rotatable assembly 212 (not shown in FIG. 22) with
of the illuminating assembly 219.                                    each being mounted on a respective panel 241, 242 with each
   The illuminating assembly 219 can have numerous varia-            assembly 212 preferably being connected to the computer
tions in size, length and resolution (resolution or definition is    214 and having its own position sensor 23 0 and controller 217
the number of actively switchable or addressable illuminating        (not shown in FIG. 22). It will display an image 249 on each
elements 221 per unit of area occupied by the illuminating 30 of the panels 241, 242.
elements 221; the higher number indicates that a higher qual-           FIG. 26 illustrates two forms ofillumination assembly 219.
ity image can be displayed). The illuminating assembly 219           Illumination assembly 219A has an arm 250 utilizing two arm
can be made utilizing many different illuminating elements           portions 250A and 250B, each carrying illuminating ele-
221 as described above.                                              ments 221. The use of two arm portions 250A, 250B provides
   Referring to FIG. 28, one means 220 of delivering power to 35 for balance during rotation. It is to be understood that any
the rotating assembly 212 is illustrated. The means 220 can          suitable number of arms or arm portions can be used in a
include one or more batteries 232. A switch 234 is provided          rotatable assembly 212. In the illustrated structure, the arm
and is operable to selectively connect the power means 220 to        250 is configured to rotate in a plane, however, it is to be
the other power using elements and effect theiroperation. The        understood that a surface of rotation can be conical, either
switch 234 may be any suitable switch such as a membrane 40 convex or concave as viewed by a user by having one or more
snap contact switch. It may be manually operated as with a           arms 250 mounted to the motor shaft at an orientation other
user's finger or may be configured to activate and deactivate        than perpendicular to the axis of rotation. It is also to be
upon relative movement of parts of the device 211 as for             understood, and as seen in phantom in FIG. 26, that arms
example, when a greeting card is opened and closed. How-             250A, B, C, D may be positioned to provide a plurality of
ever, some applications may be able to use power from house- 45 surfaces of rotation to provide a three dimensional (3-D)
hold current, like the picture frame shown in FIG. 30 since          effect in the displayed image(s). A second illumination
mobility may not be an issue. Regardless of the specific             assembly 219B is shown in FIG. 26. It utilizes an arm portion
construction of the controller 217, position sensor 230, illu-       250E extending in only one direction from the axis of rota-
minating assembly 219, interfaces, etc. there are many alter-        tion. A counterweight 252 may be provided to balance the
native and viable options for power delivery means that can 50 illumination assembly 219B during rotation. As in the above
provide adequate electrical power to the rotatable assembly          described arm assembly, a second arm portion 250F may be
212 that may be partially present on the moving (rotating)           provided to create a second image displaying surface of rota-
portion of the system. Batteries, solar panels, rechargeable         tion.
systems and hardwired systems are examples of usable power              FIG. 23 illustrates an embodiment of the invention utilizing
delivery means that are well known in the art.                    55 the illumination assembly 219A of FIG. 26 on one panel of a
   FIG. 21 shows one embodiment of the invention. The                greeting card 240.
device 211 is in the form of a greeting card 240 having a front         FIGS. 24, 25 illustrate an embodiment of the invention
panel 241 and a back panel 242 connected together along a            similar to that shown in FIGS. 21, 28, but utilizes a plurality
hinge fold line 243. The illustrated panels 241,242 are shown        of illuminating assemblies 219 and has the illuminating
as rectangular and planar and it is to be understood that any 60 assemblies mounted adjacent an edge or in an edge margin
shape, such as round or oval, or contour may be utilized so          portion of a respective panel 241, 242 such as side edge
long as they do not interfere with operation of the rotatable        margins 255, 256 respectively.
assembly 212. As shown in FIGS. 21, 28, the front panel 241             FIG. 27 illustrates an embodiment of the invention that
carries the rotation assembly 212 including the illumination         provides an image surface of rotation 260 generally parallel to
assembly 219. The axis of rotation of the illumination assem- 65 the axis of rotation of the illuminating assembly 219. This can
bly 219 is located within a non marginal or interior portion of      be accomplished by having illuminating elements 221 on an
a panel. The rotation assembly 212 includes a motor 244              end portion 261 of an arm 250. It is to be understood that
       Case 6:25-cv-00189-AM                        Document 1-3                Filed 05/07/25              Page 36 of 37


                                                       US 8,411,108 B2
                               23                                                                     24
illuminating elements 221 may also be provided on the arm                     a rotatable assembly, said computer configured to
250 as seen in FIG. 26 to simultaneously or selectively pro-                  deliver instructions to said rotatable assembly regarding
vide a plurality of image surfaces of rotation 260, 262.                      the display of at least one visual image so that said image
   FIG. 29 illustrates another embodiment of the invention                    is displayed on said rotatable assembly without bending
utilized in a book 264. The book 264 is illustrated as a popup 5              the horizontal ground plane around an axis of rotation of
book having a structure 265 that can be elevated manually                     said rotatable assembly;
after opening the book or automatically pop up when expos-                 said rotatable assembly constructed and arranged to dis-
ing a page 266 for viewing. In this embodiment, the popup                     play said at least one visual image transferred from said
structure 265 has one or more rotatable assemblies 212                        computer, said rotatable assembly including an illumi-
mounted thereto. The book 264 is also provided with a com- 10                 nating assembly, wherein said illuminating assembly
puter 214 (not shown) and other electrical components as                      includes at least one illuminating element, wherein said
described above to effect display one or more images 249.                     rotatable assembly is constructed and arranged for
The rotatable assembly 212 can be activated when the popup                    attachment to a wheel for rotation therewith, said wheel
structure 265 is in an up position. The rotatable assembly 212                constructed and arranged for rotation about said axis of
can then provide an image 249 as described above. It is to be 15              rotation;
understood that the popup structure 265 can be part of either              wherein operator selectable images may be displayed dur-
the front or back covers 267,268 respectively. For purposes of                ing rotation of said wheel about said axis of rotation.
this invention, the covers 267, 268 and the pages 266 can be               2. The rotational display system of claim 1 wherein said
considered panels as described above.                                   computer includes a tangible computer readable carrier com-
   FIG. 30 illustrates still another embodiment of the present 20 prising computer program instructions constructed and
invention. This embodiment is in the form of a photograph               arranged to allow an operator to import, manipulate, store and
display structure 270, like a picture frame which may or may            selectably display visual information of the operator's choice
not have an actual frame. The structure 270 includes a display          on said rotational assembly.
panel 271 that can have the side edge portions 272 surrounded              3. The rotational display system of claim 1 wherein said
at least partially by a frame structure 273. Means may be 25 computer includes a physical computer readable carrier con-
provided for holding the structure 270 in a generally upright           structed and arranged to allow an operator to import, manipu-
position if desired. Such means may include a hinged support            late, store and selectably display visual information of the
member 275, a hook (not shown) or a wire (not shown) to                 operator's choice on said rotational assembly.
cooperate with a wall hook or the like. The structure 270 is               4. The rotational display system of claim 1 wherein said
provided with a rotatable assembly 212 and associated com- 30 rotatable assembly includes a controller for receiving wire-
puter 214 and other electrical components as described above            less communications from said computer, said controller con-
to effect display of an image.                                          structed and arranged to control operation of said at least one
   All patents and publications mentioned in this specification         illuminating element of said illuminating assembly.
are indicative of the levels of those skilled in the art to which          5. The rotational display system of claim 4 wherein said
the invention pertains. All patents and publications are herein 35 illuminating assembly includes a plurality of illuminating
incorporated by reference to the same extent as if each indi-           elements, wherein each of said illuminating elements are
vidual publication was specifically and individually indicated          individually controllable for illumination by said controller.
to be incorporated by reference.                                           6. The rotational display system of claim 5 wherein said
   It is to be understood that while certain forms of the inven-        illuminating assembly includes illuminating elements which
tion is illustrated, it is not to be limited to the specific form or 40 include three primary colors red, green and blue, wherein said
arrangement herein described and shown. It will be apparent             illuminating assembly is constructed and arranged to display
to those skilled in the art that various changes may be made            true color.
without departing from the scope of the invention and the                  7. The rotational display system of claim 5 wherein said
invention is not to be considered limited to what is shown and          illuminating elements extend from about said axis of rotation
described in the specification and any drawings/figures 45 to about the perimeter of said wheel, whereby visual displays
included herein.                                                        may extend across a face of said wheel during operation of
   One skilled in the art will readily appreciate that the present      said illuminating assembly.
invention is well adapted to carry out the objectives and                  8. The rotational display system of claim 5 wherein said
obtain the ends and advantages mentioned, as well as those              plurality of illuminating elements are selected from the group
inherent therein. The embodiments, methods, procedures and 50 consisting of light emitting diodes, organic light emitting
techniques described herein are presently representative of             diodes, electroluminescent strips, liquid crystal displays, thin
the preferred embodiments, are intended to be exemplary and             film transistor liquid crystal displays, plasma displays, and
are not intended as limitations on the scope. Changes therein           small light bulbs.
and other uses will occur to those skilled in the art which are            9. The rotational display system of claim 4 wherein said
encompassed within the spirit of the invention and are defined 55 rotatable assembly includes multiple illuminating assemblies
by the scope of the appended claims. Although the invention             that share a common axis of rotation, wherein each of said
has been described in connection with specific preferred                illuminating assemblies are positioned at different angles
embodiments, it should be understood that the invention as              with respect to said axis of rotation to provide more than one
claimed should not be unduly limited to such specific                   image plane, wherein said controller is constructed and
embodiments. Indeed, various modifications of the described 60 arranged to synchronize images generated by said illuminat-
modes for carrying out the invention which are obvious to               ing assembly in a predetermined sequence to provide a three
those skilled in the art are intended to be within the scope of         dimensional image.
the following claims.                                                      10. The rotational display system of claim 4 wherein said
   What is claimed is:                                                  controller includes circuitry constructed and arranged to syn-
   1. A rotational display system including:                         65 chronously illuminate said illuminating elements.
   a computer for operator controlled storage and recall of                11. The rotational display system of claim 4 wherein said
       images, said computer in electrical communication with           controller includes a means of synchronization, wherein said
       Case 6:25-cv-00189-AM                      Document 1-3               Filed 05/07/25             Page 37 of 37


                                                     US 8,411,108 B2
                             25                                                                   26
means for synchronization is constructed and arranged to                 nating element, said rotatable assembly being con-
determine the relative position of said rotatable assembly               structed and arranged for attachment to a support for
with respect to a fixed position during rotation thereof.                rotation about an axis;
   12. The rotational display system of claim 11 wherein said         a power delivery means for providing power to said rotat-
means of synchronization is selected from the group consist- 5           able assembly; and
                                                                      an image represented by, said data transferred from said
ing of gyroscopes, magnetic sensors, Hall Effect sensors,
                                                                         computer to the controller displayed by said rotatable
lasers, infrared devices, radio-frequency devices, optical/re-           assembly; during rotation of said rotatable assembly,
flective tachometers, laser tachometers, mechanical position             said image displayed without bending the horizontal
(rotary) encoders, accelerometers, displacement sensors and              ground plane around said axis.
                                                                10
electromagnetic sensors.                                              17. The rotational display system of claim 16 wherein said
   13. The rotational display system of claim 1 wherein said       controller being constructed and arranged to control illumi-
rotatable assembly is constructed and arranged to display          nation of said at least one illuminating element.
planar images across the face of a motor vehicle wheel.               18. The rotational display system of claim 17 wherein said
   14. The rotational display system of claim 1 wherein said 15 illuminating assembly including a plurality of illuminating
rotatable assembly is constructed and arranged to display          elements, wherein each of said illuminating elements are
planar images across the face of said motor vehicle wheel and      individually controllable for illumination by said controller.
cylindrical images around the perimeter of said motor vehicle         19. The rotational display system of claim 18 wherein said
wheel.                                                             illuminating assembly including illuminating elements
   15. The rotational display system of claim 1 wherein said 20 which include three primary colors red, green and blue,
rotational display system is constructed and arranged to dis-      wherein said illuminating assembly is constructed and
play streaming video.                                              arranged to display true color.
   16. A rotational display system including:                         20. The rotational display system of claim 18 wherein said
   a computer for storage and recall of data representing at       illuminating   elements extending across said axis of rotation,
                                                                25 whereby a displayed image can extend across said axis of
      least one visual image;
                                                                   rotation.
   a controller in electrical communication with the computer
                                                                      21. The rotational display system of claim 18 wherein said
      and operable to receive at least some of said data;
                                                                   plurality of illuminating elements are selected from the group
   a rotatable assembly for displaying an image represented
                                                                   consisting of light emitting diodes, organic light emitting
      by at least a portion of the data transferred from said
                                                                   diodes,  electroluminescent strips, liquid crystal displays, thin
      computer to the controller, said rotatable assembly 30
                                                                   film transistor liquid crystal displays, plasma displays, and
      including an illuminating assembly, said illuminating
                                                                   small light bulbs.
      assembly being operably connected to said controller,
      said illuminating assembly including at least one illumi-                            * * * * *
